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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    Case No.: 18-24190-CIV-SMITH

   WILLIAM O. FULLER, and
   MARTIN PINILLA, II,

             Plaintiffs,

   v.

   JOE CAROLLO,

             Defendant.
                                                        /

                  ORDER BARRING CELLPHONES FROM FEDERAL COURT

         IT IS ORDERED that the following attorneys are hereby indefinitely barred from bringing

  cellphones, cameras, or any other recording device into any courthouse in the Southern District of

  Florida:

         1.         Jesse Stolow

         2.         Amber Dawson

         3.         Mason Pertnoy

         4.         Marc Sarnoff

         5.         Benedict P. Kuehne

         6.         Thomas Scott

         IT IS FURTHER ORDERED that Jesse Stolow and Amber Dawson shall ensure that all

  known copies of the photographs taken in violation of Local Rule 77.1 and Administrative Orders

  2018-79 and 2019-87-A, whether electronic or paper, in their possession or the possession of
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  others, are destroyed and each shall file a certification with the Court indicating that they have

  complied with this Order.

         DONE AND ORDERED in Fort Lauderdale, Florida, this 17th day of May, 2023.


                                                      ____________________________________
                                                      RODNEY SMITH
                                                      UNITED STATES DISTRICT JUDGE

  cc:    All counsel of record
         Sabrina.Livingston2@usdoj.gov
         Jason.Seaman@usdoj.gov
         Michael.Witkowski@usdoj.gov




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